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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


D.V.D.; M.M.; E.F.D.; and O.C.G.,

             Plaintiffs,                                  Case No. 25-cv-10676-BEM

                 v.

U.S. DEPARTMENT OF HOMELAND SECURITY;
Kristi NOEM, Secretary, U.S. Department of
Homeland Security, in her official capacity; Pamela
BONDI, U.S. Attorney General, in her official
capacity; and Antone MONIZ, Superintendent,
Plymouth County Correctional Facility, in his official
capacity,

             Defendants.



PLAINTIFFS’ MEMORANDUM IN SUPPORT OF THE COURT’S AUTHORITY TO
              MODIFY THE PRELIMINARY INJUNCTION
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       This Court has authority to modify the preliminary injunction (PI) to enjoin transfer of

class members to Guantanamo Bay, Cuba notwithstanding Defendants’ pending appeal. The

principle that the filing of an appeal generally transfers authority to the court of appeals “derives

from the desire to prevent clashes between institutions that occupy different tiers within the

federal judicial system.” United States v. Brooks, 145 F.3d 446, 456 (1st Cir. 1998). Pursuant to

Federal Rule of Civil Procedure 62(d) 1, courts retain authority to modify an injunction while an

appeal is pending to preserve the status quo and address matters that do not interfere with the

core questions presented on appeal. See, e.g., Nat. Res. Def. Council, Inc. v. Sw. Marine Inc., 242

F.3d 1163, 1166-67 (9th Cir. 2001) (affirming modification to PI pending appeal to preserve the

status quo where modifications left unchanged the core questions on appeal); Sierra Club, Lone

Star Chapter v. Cedar Point Oil Co., 73 F.3d 546, 579 (5th Cir. 1996) (finding the court did not

abuse its discretion in modifying PI pending appeal where modification did not “deviate[] from

the original purpose of the injunction”); Sec. & Exch. Comm’n v. Xia, No. 21-CV-5350 (PKC)

(JAM), 2024 WL 3447849, at *6-7 (E.D.N.Y. July 9, 2024) (citing district court cases modifying

preliminary injunctions pending appeal in order to preserve the status quo). 2



1
        Rule 62(d), previously Rule 62(c) until 2018, provides: “While an appeal is pending from
an interlocutory order or final judgment that grants . . . an injunction, the court may suspend,
modify, restore, or grant an injunction on terms for bond or other terms that secure the opposing
party’s rights.” See generally Fed. R. App. P. 8(a)(1)(C) (stating that “[a] party must ordinarily
move first in the district court for . . . an order suspending, modifying, restoring, or granting an
injunction while an appeal is pending”).
2
        In the criminal context, “an appeal from either a final order or an interlocutory order
made immediately appealable by statute divests a district court of authority to proceed with
respect to any matter touching upon, or involved in, the appeal.” United States v. Mala, 7 F.3d
1058, 1060–61 (1st Cir. 1993). In the civil context, courts have “read the First Circuit’s dictum in
Mala as consistent with the appellate caselaw from the other circuits” which “restrict[s] only trial
court proceedings that impinge more directly upon the questions presented in the interlocutory
appeal.” Pharm. Care Mgmt. Ass’n v. Maine Att’y. Gen., 332 F. Supp. 2d 258, 260 (D. Me.
2004); see also OfficeMax Inc. v. Cty Qwik Print, Inc., No. 10-cv-00110, 2011 WL 1564620, at
*3 (D. Me. Apr. 25, 2011).
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       This Court should modify the PI as it would “not materially alter the status of the case on

appeal,” Flatiron Health, Inc. v. Carson, 602 F. Supp. 3d 482, 486 (S.D.N.Y. 2020), but instead

would “preserve the status quo” of the parties, Broker Genius Inc. v. Seat Scouts LLC, No. 17-

CV-8627 (SHS), 2019 WL 452050, at *3 (S.D.N.Y. Feb. 5, 2019). Defendants’ core claims on

appeal contest jurisdiction; enjoining transfers to Guantanamo will not change the First Circuit’s

analysis of those claims. Modification is essential to ensure that Defendants do not continue to

bypass the procedural protections mandated by the PI by removing individuals to Guantanamo

before they are transported to a maximum-security prison in El Salvador by the Department of

Defense without the Department of Homeland Security’s direction or knowledge, as Defendants

claim. ECF 72; ECF 72-1. “[M]aintaining the status quo means that a controversy will still exist

once the appeal is heard,” unlike any action that would impermissibly “divest[] the court

of appeals of its jurisdiction over the matter.” Broker Genius Inc., 2019 WL 452050, at *3; see

also, e.g., Armstrong v. Brown, 732 F.3d 955, 959 n.6 (9th Cir. 2013) (affirming

modification issued to “protect plaintiffs’ rights in direct response to defendants’ . . . non-

compliance with its earlier orders” because the status of the case on appeal remained

unchanged); Doe v. Trump, 284 F. Supp. 3d 1172, 1176 (W.D. Wash. 2018); In re Guantanamo

Bay Detainee Litig., 706 F. Supp. 2d 120, 123-24 (D.D.C. 2010).

Respectfully submitted,
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                                  CERTIFICATE OF SERVICE
       I hereby certify that this document filed through the ECF system will be sent electronically

to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                      s/ Trina Realmuto
                                                      Trina Realmuto
                                                      National Immigration Litigation Alliance

Dated: April 29, 2025




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